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                             IN THE THIRD JUDICIAL DISTRICT COURT

                         IN AND FOR SALT LAKE COUNTY, STATE OF UTAH


 MICHAEL J. FITZGIBBONS, as Receiver for
 The X-1, LLC,                                       JUDGMENT

           Plaintiff,

 v.
                                                     Case No. 180905881
 ARMANDO DEGUZMAN, an individual;
 PATRICIA DEGUZMAN, an individual; and               Judge: Barry Lawrence
 JOHN DOES 1-20.

           Defendants.



          Plaintiff Michael J. FitzGibbons, as Receiver for the X-1, LLC (“X-1”) and Defendants

Armando DeGuzman and Patricia DeGuzman have stipulated to the entry of judgment in this case.

NOW, THEREFORE, pursuant to Rule 58A of the Utah Rules of Civil Procedure, the Court now

enters the following judgment in final resolution of all claims and disputes in this matter and hereby

ORDERS:

          1.        The Receiver is awarded judgment against Defendants Armando DeGuzman and

Patricia DeGuzman, jointly and severally, in the amount of five hundred fifty thousand dollars

($550,000.00) plus post-judgment interest from the date of entry of this judgment at the legal rate

interest of 1.53% pursuant to Utah Code Section 15-1-4;

99999-76129/12220653.1
  Case 4:18-bk-12649-SHG           Doc 163-3 Filed 07/28/20 Entered 07/28/20 11:49:12
                                  Desc Exhibit B.1 Page 1 of 2
          2.        This Judgment is voluntarily given as a part of the settlement agreement between

the parties, dated June __, 2020 filed in the Arizona Superior Court for Maricopa County in the

action titled State of Arizona v. Unkefer, et al, cause number CV2014-006765. The Defendants

agree that this Judgment is considered a non-dischargeable judgment pursuant to 11 U.S.C. §§

523(a)(2) and (6) (United States Bankruptcy Code).

          3.        In the event that the Defendants file any subsequent bankruptcy after the

bankruptcy filed in the District of Arizona, Case Number 4:18-bk-12649 SHG, the debt granted

through this Judgment will not be dischargeable under any circumstances.

                         **Executed and entered by the Court as indicated by the date
                                    and seal at the top of the first page**




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  Case 4:18-bk-12649-SHG                Doc 163-3 Filed 07/28/20 Entered 07/28/20 11:49:12
                                       Desc Exhibit B.1 Page 2 of 2
